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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

MONUMENT PEAK VENTURES, LLC,                    )
                                                )
                        Plaintiff,              )
                                                )
        v.                                      )      Civil Action No.
                                                )
GOPRO, INC.,                                    )       JURY TRIAL DEMANDED
                                                )
                        Defendant.              )
                                                )


                       COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Monument Peak Ventures, LLC (“MPV”), by and through the undersigned

counsel, hereby brings this action and makes the following allegations of Patent infringement

relating to U.S. Patent Nos. 5,923,908 (the “’908 Patent”), 6,101,338 (the “’338 Patent”),

6,282,317 (the “’317 Patent”), 6,781,713 (the “’713 Patent”), and 6,760,485 (the “’485 Patent”)

(collectively “the Asserted Patents”) against Defendant GoPro, Inc. (“GoPro”), and alleges as

follows upon actual knowledge with respect to itself and its own acts, and upon information

and belief as to all other matters.

             The Asserted Patents Come From the Iconic Kodak Patent Portfolio

        1.      The Asserted Patents claim inventions born from the ingenuity of the Eastman

Kodak Company (“Kodak”), an iconic American imaging technology company that dates back to

the late 1800s. The first model of a Kodak camera was released in 1888.




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       2.      In 1935 Kodak introduced “Kodachrome,” a color reversal stock for movie and

slide film. In 1963 Kodak introduced the Instamatic camera, an easy-to-load point-and-shoot

camera.




       3.      By 1976 Kodak was responsible for 90% of the photographic film and 85% of the

cameras sold in the United States.

       4.      At the peak of its domination of the camera industry, Kodak invented the first

self-contained digital camera in 1975.




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       5.       By 1986 Kodak had created the first megapixel sensor that was capable of

recording 1,400,000 pixels. While innovating in the digital imaging space Kodak developed an

immense Patent portfolio and extensively licensed its technology in the space. For example, in

2010, Kodak received $838,000,000 in Patent licensing revenue. As part of a reorganization of

its business, Kodak sold many of its Patents to some of the biggest names in technology that

included Google, Facebook, Amazon, Microsoft, Samsung, Adobe Systems, HTC and others for

$525,000,000.

       6.       While scores of digital imaging companies have paid to license the Kodak Patent

portfolio owned by MPV, GoPro has refused to do so without justification.

                                NATURE OF THE ACTION

       7.       This is an action for Patent infringement. MPV alleges that GoPro has infringed

and/or is infringing one or more of the ’908 Patent, the ’338 Patent, the ’317 Patent, the ’713

Patent, and the ’485 Patent copies of which are attached as Exhibits A-E, respectively.

       8.       On or about April 24, 2017, MPV, a technology licensing company, made the first

of several attempts to contact GoPro over a period of several months. MPV’s communications

highlighted that GoPro would benefit from a license to the portfolio and expressed its willingness




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to offer GoPro a license to the iconic Kodak portfolio outside of litigation. Since MPV acquired

the Kodak portfolio it has successfully licensed several companies without resorting to litigation.

For months, GoPro ignored several MPV communications before responding on or about

September 29, 2017. Consistent with MPV’s overall strategy to use litigation only as a last

resort, MPV had several discussions with GoPro’s in-house and outside counsel over a period of

five months during which MPV repeatedly expressed its desire to consummate a license outside

of litigation.

        9.       On or about October 11, 2017, MPV informed GoPro of its infringement through

a data room that included a full list of all Patents owned by MPV and evidence of use

presentations detailing GoPro’s infringement of fourteen MPV Patents, including the Asserted

Patents. The data room has been accessible to GoPro for five months and remains accessible to

GoPro as of the filing of the complaint.

        10.      On or about November 27, 2017, MPV presented GoPro’s counsel with a real-

time technical walkthrough of the evidence of use presentations, including the Asserted Patents.

        11.      MPV alleges that GoPro directly and indirectly infringes and/or has infringed the

Asserted Patents by making, using, offering for sale, selling, and/or importing digital cameras,

video editing products, and image processing products. MPV seeks damages and other relief for

GoPro’s infringement of the Asserted Patents.

                                           THE PARTIES

        12.      Plaintiff MPV is a Texas limited liability company with its principal place of

business in Plano, Texas.

        13.      Upon information and belief, GoPro is a Delaware corporation with a place of

business in San Mateo, California. GoPro may be served with process through its registered




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agent, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

Wilmington, Delaware 19801.

                                JURISDICTION AND VENUE

        14.    This action for Patent infringement arises under the Patent Laws of the United

States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and

1338.

        15.    This Court has both general and specific personal jurisdiction over GoPro because

GoPro is a Delaware corporation that has committed acts within this District giving rise to this

action and has established minimum contacts with this forum such that the exercise of

jurisdiction over GoPro would not offend traditional notions of fair play and substantial justice.

GoPro, directly and through subsidiaries and intermediaries (including distributors, retailers,

franchisees and others), has committed and continues to commit acts of infringement in this

District by, among other things, making, using, testing, selling, importing, and/or offering for

sale products that infringe the Asserted Patents.

        16.    Venue is proper in this District and division under 28 U.S.C. §§1391(b)-(d) and

1400(b) because GoPro is incorporated in this District, transacts business in this District and has

committed and continues to commit acts of direct and indirect infringement in this District.

                   COUNT I: INFRINGEMENT OF THE ’908 PATENT

        17.     The allegations of paragraphs 1-16 of this Complaint are incorporated by

reference as though fully set forth herein.

        18.     MPV owns by assignment the entire right, title, and interest in the ’908 Patent.

        19.    The ’908 Patent was issued by the United States Patent and Trademark Office on

July 13, 1999 and is titled “Camera With Touch Sensitive Control.” A true and correct copy of




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the ’908 Patent is attached as Exhibit A.

       20.     Upon information and belief, GoPro has directly infringed at least claim 9 of the

’908 Patent by making, using, testing, selling, offering for sale, importing and/or licensing in the

United States without authority its digital camera products having a touch screen, including

without limitation the GoPro Hero6 Black camera, (“the ’908 Infringing Instrumentalities”) in an

exemplary manner as described below.

       21.     One or more of the ’908 Infringing Instrumentalities meet all the limitations of

claim 9 of the ’908 Patent. In particular, each of the ’908 Infringing Instrumentalities is a

camera including a touch sensitive screen.




        https://shop.gopro.com/cameras/hero6-black/CHDHX-601-
       master.html?gclid=EAIaIQobChMIrtOWmK3S1gIVEVmGCh1RPwrREAAYASAAEgK
       iH_D_BwE&dclid=CJ-q1Jmt0tYCFYlqwQodso8CMw




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https://gopro.com/content/dam/help/hero6-black/manuals/HERO6Black_UM_ENG_REVA.pdf

       22.     The ’908 Infringing Instrumentalities also include a camera control which

controls at least one function of the camera.




https://gopro.com/content/dam/help/hero6-black/manuals/HERO6Black_UM_ENG_REVA.pdf

       23.     The ’908 Infringing Instrumentalities also include a processor connected to the

touch sensitive screen and the camera control, to display a camera control icon at different user

selectable positions or sizes of the screen, so that touching the icon controls the corresponding




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camera function.




       https://gopro.com/help/articles/block/hero6-black-processor-questions




                                https://gopro.com/content/dam/help/hero6-

                           black/manuals/HERO6Black_UM_ENG_REVA.pdf

       24.     GoPro has thus infringed at least claim 9 of the ’908 Patent by making, using,

testing, selling, offering for sale, importing and/or licensing the ’908 Infringing Instrumentalities,

and operating such that all steps of at least claim 9 are performed.



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       25.     The users, customers, agents and/or other third parties of the ’908 Infringing

Instrumentalities (collectively, “third-party infringers”) infringed, including under 35 U.S.C. §

271(a), at least claim 9 of the ’908 Patent by using the ’908 Infringing Instrumentalities.

       26.     GoPro has, since at least no later than October 11, 2017, known or been willfully

blind to the fact that the third-party infringers’ use of the ’908 Infringing Instrumentalities

directly infringe the ’908 Patent.

       27.     GoPro’s knowledge of the ’908 Patent, which covers operating the ’908

Infringing Instrumentalities in their intended manner and such that all limitations of at least claim

9 of the ’908 Patent are met, made it known to GoPro that the third-party infringers’ use of the

’908 Infringing Instrumentalities would directly infringe the ’908 Patent, or, at the very least,

render GoPro willfully blind to such infringement.

       28.     Having known or been willfully blind to the fact that the third-party infringers’

use of the ’908 Infringing Instrumentalities in their intended manner and such that all limitations

of at least claim 9 of the ’908 Patent are met would directly infringe the ’908 Patent, GoPro,

upon information and belief, actively encouraged the third-party infringers to directly infringe

the ’908 Patent by making, using, testing, selling, offering for sale, importing and/or licensing

said ’908 Infringing Instrumentalities, and by, for example, marketing ’908 Infringing

Instrumentalities to the third-party infringers; supporting and managing the third-party

infringers’ continued use of the ’908 Infringing Instrumentalities; and providing technical

assistance to the third-party infringers during their continued use of the ’908 Infringing

Instrumentalities. See, e.g., GoPro Hero6 Black User Manual at pp. 70-73,

https://gopro.com/content/dam/help/hero6-black/manuals/HERO6Black_UM_ENG_REVA.pdf.

       29.     GoPro induced the third-party infringers to infringe at least claim 9 of the ’908




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 Patent by directing or encouraging them to operate the ’908 Infringing Instrumentalities which,

 alone or in combination with the third-party infringers’ devices, satisfy all limitations of claim 9

 of the ’908 Patent. For example, GoPro advertised and promoted the features of the ’908

 Infringing Instrumentalities and encouraged the third-party infringers to operate the ’908

 Infringing Instrumentalities in an infringing manner. GoPro further provided technical assistance

 as to how the ’908 Infringing Instrumentalities should be used by the third-party infringers (see,

 e.g., GoPro Hero6 Black User Manual at pp. 70-73, https://gopro.com/content/dam/help/hero6-

 black/manuals/HERO6Black_UM_ENG_REVA.pdf). In response, the third-party infringers

 acquired and operated the ’908 Infringing Instrumentalities such that all limitations of claim 9 of

 the ’908 Patent are practiced.

        30.     Thus, GoPro has specifically intended to induce, and has induced, the third-party

 infringers to infringe at least claim 9 of the ’908 Patent, and GoPro has known of or been

 willfully blind to such infringement. GoPro has advised, encouraged, and/or aided the third-

 party infringers to engage in direct infringement, including through its encouragement, advice,

 and assistance to the third-party infringers to use the ’908 Infringing Instrumentalities.

        31.     Based on, among other things, the foregoing facts, GoPro has induced

 infringement under 35 U.S.C. § 271(b) of at least claim 9 of the ’908 PPatent.

        32.     Further, GoPro sold, provided and/or licensed to the third-party infringers ’908

 Infringing Instrumentalities that are especially made and adapted—and specifically intended by

 GoPro—to be used as components and material parts of the inventions covered by the ’908

 Patent. For example, GoPro provided the accused cameras and related product documentation

 and instructions, which the third-party infringers used in a manner such that all limitations of at

 least claim 9 of the ’908 Patent are met, and without which the third-party infringers would be




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 unable to have used and availed themselves of the ’908 Infringing Instrumentalities in their

 intended manner.

           33.   Upon information and belief, GoPro also knew that the ’908 Infringing

 Instrumentalities operate in a manner that satisfy all limitations of at least claim 9 of the ’908

 Patent.

           34.   The digital camera touch screen technology in the ’908 Infringing

 Instrumentalities is specially made and adapted to infringe at least claim 9 of the ’908 Patent.

 Upon information and belief, the digital camera touch screen technology in the ’908 Infringing

 Instrumentalities is not a staple article or commodity of commerce, and, because the

 functionality is designed to work with the ’908 Infringing Instrumentalities solely in a manner

 that is covered by the ’908 Patent, it does not have a substantial non-infringing use. At least by

 no later than October 11, 2017, based on the foregoing facts, GoPro has known or been willfully

 blind to the fact that such functionality is especially made and adapted for—and is in fact used

 in—’908 Infringing Instrumentalities in a manner that is covered by the ’908 Patent.

           35.   Based on, among other things, the foregoing facts, GoPro has contributorily

 infringed at least claim 9 of the ’908 Patent under 35 U.S.C. § 271(c).

           36.   GoPro’s acts of direct and indirect infringement have caused damage to MPV,

 and MPV is entitled to recover damages sustained as a result of GoPro’s wrongful acts in an

 amount subject to proof at trial.

                    COUNT II: INFRINGEMENT OF THE ’338 PATENT

           37.   The allegations of paragraphs 1-36 of this Complaint are incorporated by

 reference as though fully set forth herein.

           38.   MPV owns by assignment the entire right, title, and interest in the ’338 Patent.




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        39.     The ’338 Patent was issued by the United States Patent and Trademark Office on

 August 8, 2000 and is titled “Speech Recognition Camera With a Prompting Display.” A true

 and correct copy of the ’338 Patent is attached as Exhibit B.

        40.     Upon information and belief, GoPro has directly infringed at least claim 6 of the

 ’338 Patent by making, using, testing, selling, offering for sale, importing and/or licensing in the

 United States without authority its cameras (e.g., GoPro Hero5 Black) (“the ’338 Infringing

 Instrumentalities”) in an exemplary manner as described below.

        41.     One or more of the ’338 Infringing Instrumentalities meet all the limitations of

 claim 6 of the ’338 Patent. In particular, the ’338 Infringing Instrumentalities are a camera.




 https://shop.gopro.com/cameras/hero5-black/CHDHX-502-master.html

        42.     The ’338 Infringing Instrumentalities include a camera body for providing a

 protective housing for its internal components.




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 https://gopro.com/content/dam/help/hero5-
 black/manuals/HERO5Black_UM_ENG_REVC_Web.pdf

       43.   The ’338 Infringing Instrumentalities include a display on the camera body.




 https://gopro.com/content/dam/help/hero5-
 black/manuals/HERO5Black_UM_ENG_REVC_Web.pdf



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        44.    The ’338 Infringing Instrumentalities include a microphone for receiving voice

 commands.




 https://gopro.com/content/dam/help/hero5-
 black/manuals/HERO5Black_UM_ENG_REVC_Web.pdf

        45.    The ’338 Infringing Instrumentalities include a microcontroller disposed in said

 camera body for causing said display to display, prior to receiving any voice commands, words

 or phrases representative of a set of voice commands pre-programmed in said microcontroller.




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 https://gopro.com/content/dam/help/hero5-
 black/manuals/HERO5Black_UM_ENG_REVC_Web.pdf




 https://gopro.com/content/dam/help/hero5-
 black/manuals/HERO5Black_UM_ENG_REVC_Web.pdf

        46.     GoPro has thus infringed at least claim 6 of the ’338 Patent by making, using,

 testing, selling, offering for sale, importing and/or licensing the ’338 Infringing Instrumentalities.

        47.     The users, customers, agents and/or other third parties of the ’338 Infringing

 Instrumentalities (collectively, “third-party infringers”) infringe, including under 35 U.S.C. §

 271(a), at least claim 6 of the ’338 Patent by using the ’338 Infringing Instrumentalities.

        48.     GoPro has, since at least no later than October 11, 2017, known or been willfully

 blind to the fact that the third-party infringers’ use of the ’338 Infringing Instrumentalities

 directly infringe the ’338 Patent.

        49.     GoPro’s knowledge of the ’338 Patent, which covers operating the ’338

 Infringing Instrumentalities in their intended manner and such that all limitations of at least claim

 6 of the ’338 Patent are met, made it known to GoPro that the third-party infringers’ use of the

 ’338 Infringing Instrumentalities would directly infringe the ’338 Patent, or, at the very least,

 render GoPro willfully blind to such infringement.




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        50.     Having known or been willfully blind to the fact that the third-party infringers’

 use of the ’338 Infringing Instrumentalities in their intended manner and such that all limitations

 of at least claim 6 of the ’338 Patent are met would directly infringe the ’338 Patent, GoPro,

 upon information and belief, actively encouraged the third-party infringers to directly infringe

 the ’338 Patent by making, using, testing, selling, offering for sale, importing and/or licensing

 said ’338 Infringing Instrumentalities, and by, for example, marketing ’338 Infringing

 Instrumentalities to the third-party infringers; supporting and managing the third-party

 infringers’ continued use of the ’338 Infringing Instrumentalities; and providing technical

 assistance to the third-party infringers during their continued use of the ’338 Infringing

 Instrumentalities. See, e.g., https://gopro.com/content/dam/help/hero5-

 black/manuals/HERO5Black_UM_ENG_REVC_Web.pdf.

        51.     GoPro induced the third-party infringers to infringe at least claim 6 of the ’338

 Patent by directing or encouraging them to operate the ’338 Infringing Instrumentalities which,

 alone or in combination with the third-party infringers’ devices, satisfy all limitations of claim 6

 of the ’338 Patent. For example, GoPro advertised and promoted the features of the ’338

 Infringing Instrumentalities at https://gopro.com and encouraged the third-party infringers to

 operate the ’338 Infringing Instrumentalities in an infringing manner. GoPro further provided

 technical assistance as to how the ’338 Infringing Instrumentalities should be used by the third-

 party infringers (see, e.g., https://gopro.com/content/dam/help/hero5-

 black/manuals/HERO5Black_UM_ENG_REVC_Web.pdf). In response, the third-party

 infringers acquired and operated the ’338 Infringing Instrumentalities such that all limitations of

 claim 6 of the ’338 Patent are practiced.

        52.     Thus, GoPro has specifically intended to induce, and has induced, the third-party




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 infringers to infringe at least claim 6 of the ’338 Patent, and GoPro has known of or been

 willfully blind to such infringement. GoPro has advised, encouraged, and/or aided the third-

 party infringers to engage in direct infringement, including through its encouragement, advice,

 and assistance to the third-party infringers to use the ’338 Infringing Instrumentalities.

           53.   Based on, among other things, the foregoing facts, GoPro has induced, and

 continues to induce, infringement under 35 U.S.C. § 271(b) of at least claim 6 of the ’338 Patent.

           54.   Further, GoPro sold, provided and/or licensed to the third-party infringers ’338

 Infringing Instrumentalities that are especially made and adapted—and specifically intended by

 GoPro—to be used as components and material parts of the inventions covered by the ’338

 Patent. For example, GoPro provided its cameras which the third-party infringers use in a

 manner such that all limitations of at least claim 6 of the ’338 Patent are met, and without which

 the third-party infringers would be unable to use and avail themselves of the ’338 Infringing

 Instrumentalities in their intended manner.

           55.   Upon information and belief, GoPro also knew that the ’338 Infringing

 Instrumentalities operate in a manner that satisfy all limitations of at least claim 6 of the ’338

 Patent.

           56.   The Voice Control technology in the ’338 Infringing Instrumentalities is specially

 made and adapted to infringe at least claim 6 of the ’338 Patent. Upon information and belief,

 the Voice Control technology in the ’338 Infringing Instrumentalities is not a staple article or

 commodity of commerce, and, because the functionality is designed to work with the ’338

 Infringing Instrumentalities solely in a manner that is covered by the ’338 Patent, it does not

 have a substantial non-infringing use. At least by no later than October 11, 2017, based on the

 foregoing facts, GoPro has known or been willfully blind to the fact that such functionality is




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 especially made and adapted for—and is in fact used in—the ’338 Infringing Instrumentalities in

 a manner that is covered by the ’338 Patent.

        57.     Based on, among other things, the foregoing facts, GoPro has contributorily

 infringed at least claim 6 of the ’338 Patent under 35 U.S.C. § 271(c).

        58.     GoPro’s acts of infringement of the ’338 Patent have been willful and intentional

 under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923 (2016). Since at

 least October 11, 2017, GoPro has willfully infringed the ’338 Patent by refusing to take a

 license and continuing the foregoing infringement. Instead of taking a license to the ’338 Patent,

 GoPro made the business decision to “efficiently infringe” the ’338 Patent. In doing so, GoPro

 willfully infringes the ’338 Patent.

        59.      GoPro’s acts of direct and indirect infringement have caused damage to MPV,

 and MPV is entitled to recover damages sustained as a result of GoPro’s wrongful acts in an

 amount subject to proof at trial.

                    COUNT III: INFRINGEMENT OF THE ’317 PATENT

        60.      The allegations of paragraphs 1-59 of this Complaint are incorporated by

 reference as though fully set forth herein.

        61.      MPV owns by assignment the entire right, title, and interest in the ’317 Patent.

        62.      The ’317 Patent was issued by the United States Patent and Trademark Office on

 August 28, 2001 and is titled “Method for Automatic Determination of Main Subjects in

 Photographic Images.” A true and correct copy of the ’317 Patent is attached as Exhibit C.

        63.      Upon information and belief, GoPro has directly infringed at least claim 1 of the

 ’317 Patent by making, using, testing, selling, offering for sale, importing and/or licensing in the




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 United States without authority its Quik - GoPro Video Editor (“the ’317 Infringing

 Instrumentalities”) in an exemplary manner as described below.

        64.      One or more of the ’317 Infringing Instrumentalities meet all the limitations of

 claim 1 of the ’317 Patent. In particular, the ’317 Infringing Instrumentalities practice a method

 for detecting a main subject in an image.




        65.      The ’317 Infringing Instrumentalities receive a digital image from either local

 storage or from the GoPro Plus cloud storage service.




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         66.      The ’317 Infringing Instrumentalities extract regions of arbitrary shape and size

 defined by actual objects from the digital image (e.g., foreground object candidate extraction vs.

 background).




         67.      The ’317 Infringing Instrumentalities extract for each of the (foreground) regions

 at least one structural saliency feature (e.g., face geometrical shape) and at least one semantic

 saliency feature (e.g., skin color).




         68.      The ’317 Infringing Instrumentalities uses a probabilistic reasoning algorithm to

 integrate the structural and semantic saliency features into an estimate of a belief that each region




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 is the main subject in order to “frame each photo perfectly” according to the detected “faces and

 colors:




 https://www.engadget.com/2017/09/28/gopro-hero-6-and-gp1/




 https://www.engadget.com/2017/09/28/gopro-hero-6-and-gp1/

           69.   GoPro has thus infringed at least claim 1 of the ’317 Patent by making, using,

 testing, selling, offering for sale, importing and/or licensing the ’317 Infringing Instrumentalities,

 and operating such that all steps of at least claim 1 are performed.




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        70.      The users, customers, agents and/or other third parties of the ’317 Infringing

 Instrumentalities (collectively, “third-party infringers”) infringe, including under 35 U.S.C. §

 271(a), at least claim 1 of the ’317 Patent by using the ’317 Infringing Instrumentalities.

        71.      GoPro has, since at least no later than October 11, 2017, known or been willfully

 blind to the fact that the third-party infringers’ use of the ’317 Infringing Instrumentalities

 directly infringe the ’317 Patent.

        72.      GoPro’s knowledge of the ’317 Patent, which covers operating the ’317

 Infringing Instrumentalities in their intended manner and such that all limitations of at least claim

 1 of the ’317 Patent are met, made it known to GoPro that the third-party infringers’ use of the

 ’317 Infringing Instrumentalities would directly infringe the ’317 Patent, or, at the very least,

 render GoPro willfully blind to such infringement.

        73.      Having known or been willfully blind to the fact that the third-party infringers’

 use of the ’317 Infringing Instrumentalities in their intended manner and such that all limitations

 of at least claim 1 of the ’317 Patent are met would directly infringe the ’317 Patent, GoPro,

 upon information and belief, actively encouraged the third-party infringers to directly infringe

 the ’317 Patent by making, using, testing, selling, offering for sale, importing and/or licensing

 said ’317 Infringing Instrumentalities, and by, for example, marketing ’317 Infringing

 Instrumentalities to the third-party infringers; supporting and managing the third-party

 infringers’ continued use of the ’317 Infringing Instrumentalities; and providing technical

 assistance to the third-party infringers during their continued use of the ’317 Infringing

 Instrumentalities. See, e.g., https://gopro.com.

        74.      GoPro induced the third-party infringers to infringe at least claim 1 of the ’317

 Patent by directing or encouraging them to operate the ’317 Infringing Instrumentalities which,




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 alone or in combination with the third-party infringers’ devices, satisfy all limitations of claim 1

 of the ’317 Patent. For example, GoPro advertised and promoted the features of the ’317

 Infringing Instrumentalities at https://gopro.com and encouraged the third-party infringers to

 operate the ’317 Infringing Instrumentalities in an infringing manner. GoPro further provided

 technical assistance as to how the ’317 Infringing Instrumentalities should be used by the third-

 party infringers (see, e.g., https://gopro.com/news/what-is-the-gp1-chip-in-hero6-black).        In

 response, the third-party infringers acquired and operated the ’317 Infringing Instrumentalities

 such that all limitations of claim 1 of the ’317 Patent are practiced.

           75.    Thus, GoPro has specifically intended to induce, and has induced, the third-party

 infringers to infringe at least claim 1 of the ’317 Patent, and GoPro has known of or been

 willfully blind to such infringement. GoPro has advised, encouraged, and/or aided the third-

 party infringers to engage in direct infringement, including through its encouragement, advice,

 and assistance to the third-party infringers to use the ’317 Infringing Instrumentalities.

           76.    Based on, among other things, the foregoing facts, GoPro has induced, and

 continues to induce, infringement under 35 U.S.C. § 271(b) of at least claim 1 of the ’317 Patent.

           77.    Further, GoPro sold, provided and/or licensed to the third-party infringers ’317

 Infringing Instrumentalities that are especially made and adapted—and specifically intended by

 GoPro—to be used as components and material parts of the inventions covered by the ’317

 Patent.     For example, GoPro provided Quik - GoPro Video Editor which the third-party

 infringers use in a manner such that all limitations of at least claim 1 of the ’317 Patent are met,

 and without which the third-party infringers would be unable to use and avail themselves of the

 ’317 Infringing Instrumentalities in their intended manner.




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           78.   Upon information and belief, GoPro also knew that the ’317 Infringing

 Instrumentalities operate in a manner that satisfy all limitations of at least claim 1 of the ’317

 Patent.

           79.   The Quik technology in the ’338 Infringing Instrumentalities is specially made

 and adapted to infringe at least claim 1 of the ’338 Patent. Upon information and belief, the

 Quik technology in the ’338 Infringing Instrumentalities is not a staple article or commodity of

 commerce, and, because the functionality is designed to work with the ’317 Infringing

 Instrumentalities solely in a manner that is covered by the ’317 Patent, it does not have a

 substantial non-infringing use.     At least by no later than October 11, 2017, based on the

 foregoing facts, GoPro has known or been willfully blind to the fact that such functionality is

 especially made and adapted for—and is in fact used in—the ’317 Infringing Instrumentalities in

 a manner that is covered by the ’317 Patent.

           80.   Based on, among other things, the foregoing facts, GoPro has contributorily

 infringed at least claim 1 of the ’317 Patent under 35 U.S.C. § 271(c).

           81.   GoPro’s acts of infringement of the ’317 Patent have been willful and intentional

 under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923 (2016). Since at

 least October 11, 2017, GoPro has willfully infringed the ’317 Patent by refusing to take a

 license and continuing the foregoing infringement. Instead of taking a license to the ’317 Patent,

 GoPro made the business decision to “efficiently infringe” the ’317 Patent. In doing so, GoPro

 willfully infringes the ’317 Patent.

           82.   GoPro’s acts of direct and indirect infringement have caused damage to MPV,

 and MPV is entitled to recover damages sustained as a result of GoPro’s wrongful acts in an

 amount subject to proof at trial.




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                    COUNT IV: INFRINGEMENT OF THE ’713 PATENT

        83.      The allegations of paragraphs 1-82 of this Complaint are incorporated by

 reference as though fully set forth herein.

        84.      MPV owns by assignment the entire right, title, and interest in the ’713 Patent.

        85.      The ’713 Patent was issued by the United States Patent and Trademark Office on

 August 24, 2004 and is titled “Correcting Exposure in a Rendered Digital Image.” A true and

 correct copy of the ’713 Patent is attached as Exhibit D.

        86.      Upon information and belief, GoPro has directly infringed at least claim 25 of

 the ’713 Patent by making, using, testing, selling, offering for sale, importing and/or licensing in

 the United States without authority its image processing software products, including without

 limitation the GoPro Studio software (“the ’713 Infringing Instrumentalities”) in an exemplary

 manner as described below.

        87.      One or more of the ’713 Infringing Instrumentalities meet all the limitations of

 claim 25 of the ’713 Patent. In particular, the ’713 Infringing Instrumentalities perform a

 method for processing including an allowing a single user adjustable exposure setting to be

 changed.




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 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf

          88.   The ’713 Infringing Instrumentalities also select an exposure modification

 transform responsive to changes in the exposure setting which transform accounts for a rendering

 used to produce the rendered digital image and which appears as if a different exposure level was

 used by the image capture device.




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 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf

          89.    The ’713 Infringing Instrumentalities also use the selected transform to transform

 the image.




 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf

          89. The ’713 Infringing Instrumentalities also display the transformed image as the

 exposure setting is changed.




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 See, e.g., GoPro Studio Tutorial, https://www.youtube.com/watch?v=Zzq0DqX0TlQ, illustrating

 the GoPro Studio software displaying.

        90.      GoPro has thus infringed at least claim 25 of the ’713 Patent by making, using,

 testing, selling, offering for sale, importing and/or licensing the ’713 Infringing Instrumentalities,

 and operating such that all steps of at least claim 25 are performed.

        91.      The users, customers, agents and/or other third parties of the ’713 Infringing

 Instrumentalities (collectively, “third-party infringers”) infringed, including under 35 U.S.C. §

 271(a), at least claim 25 of the ’713 Patent by using the ’713 Infringing Instrumentalities.

        92.      GoPro has, since at least no later than October 11, 2017, known or been willfully

 blind to the fact that the third-party infringers’ use of the ’713 Infringing Instrumentalities

 directly infringe the ’713 Patent.

        93.      GoPro’s knowledge of the ’713 Patent, which covers operating the ’713

 Infringing Instrumentalities in their intended manner and such that all limitations of at least claim


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 25 of the ’713 Patent are met, made it known to GoPro that the third-party infringers’ use of the

 ’713 Infringing Instrumentalities would directly infringe the ’713 Patent, or, at the very least,

 render GoPro willfully blind to such infringement.

        94.      Having known or been willfully blind to the fact that the third-party infringers’

 use of the ’713 Infringing Instrumentalities in their intended manner and such that all limitations

 of at least claim 25 of the ’713 Patent are met would directly infringe the ’713 Patent, GoPro,

 upon information and belief, actively encouraged the third-party infringers to directly infringe

 the ’713 Patent by making, using, testing, selling, offering for sale, importing and/or licensing

 said ’713 Infringing Instrumentalities, and by, for example, marketing ’713 Infringing

 Instrumentalities to the third-party infringers; supporting and managing the third-party

 infringers’ continued use of the ’713 Infringing Instrumentalities; and providing technical

 assistance to the third-party infringers during their continued use of the ’713 Infringing

 Instrumentalities. See, e.g., GoPro Studio 2.5 User Manual at pp. 45, 85,

 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf).

        95.      GoPro induced the third-party infringers to infringe at least claim 25 of the ’713

 Patent by directing or encouraging them to operate the ’713 Infringing Instrumentalities which,

 alone or in combination with the third-party infringers’ devices, satisfy all limitations of claim 25

 of the ’713 Patent. For example, GoPro advertised and promoted the features of the ’713

 Infringing Instrumentalities and encouraged the third-party infringers to operate the ’713

 Infringing Instrumentalities in an infringing manner. GoPro further provided technical assistance

 as to how the ’713 Infringing Instrumentalities should be used by the third-party infringers (see,

 e.g., GoPro Studio 2.5 User Manual at pp. 45, 85,




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 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf). In response, the third-party infringers acquired and operated the ’713 Infringing

 Instrumentalities such that all limitations of claim 25 of the ’713 Patent are practiced.

           96.    Thus, GoPro has specifically intended to induce, and has induced, the third-party

 infringers to infringe at least claim 25 of the ’713 Patent, and GoPro has known of or been

 willfully blind to such infringement. GoPro has advised, encouraged, and/or aided the third-

 party infringers to engage in direct infringement, including through its encouragement, advice,

 and assistance to the third-party infringers to use the ’713 Infringing Instrumentalities.

           97.    Based on, among other things, the foregoing facts, GoPro has induced, and

 continues to induce, infringement under 35 U.S.C. § 271(b) of at least claim 25 of the ’713

 Patent.

           98.    Further, GoPro sold, provided and/or licensed to the third-party infringers ’713

 Infringing Instrumentalities that are especially made and adapted—and specifically intended by

 GoPro—to be used as components and material parts of the inventions covered by the ’713

 Patent. For example, GoPro provided hardware and related image processing software which the

 third-party infringers use in a manner such that all limitations of at least claim 25 of the ’713

 Patent are met, and without which the third-party infringers would be unable to use and avail

 themselves of the ’713 Infringing Instrumentalities in their intended manner.

           99.    Upon information and belief, GoPro also knew that the ’713 Infringing

 Instrumentalities operate in a manner that satisfy all limitations of at least claim 25 of the ’713

 Patent.

           100.   The image processing / exposure modification transform technology in the ’713

 Infringing Instrumentalities is specially made and adapted to infringe at least claim 25 of the




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 ’713 Patent.    Upon information and belief, the image processing / exposure modification

 transform technology in the ’713 Infringing Instrumentalities is not a staple article or commodity

 of commerce, and, because the functionality is designed to work with the ’713 Infringing

 Instrumentalities solely in a manner that is covered by the ’713 Patent, it does not have a

 substantial non-infringing use.     At least by no later than October 11, 2017, based on the

 foregoing facts, GoPro has known or been willfully blind to the fact that such functionality is

 especially made and adapted for—and is in fact used in—the ’713 Infringing Instrumentalities in

 a manner that is covered by the ’713 Patent.

        101.     Based on, among other things, the foregoing facts, GoPro has contributorily

 infringed at least claim 25 of the ’713 Patent under 35 U.S.C. § 271(c).

        102.     GoPro’s acts of infringement of the ’713 Patent have been willful and intentional

 under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923 (2016). Since at

 least October 11, 2017, GoPro has willfully infringed the ’713 Patent by refusing to take a

 license and continuing the foregoing infringement. Instead of taking a license to the ’713 Patent,

 GoPro made the business decision to “efficiently infringe” the ’713 Patent. In doing so, GoPro

 willfully infringes the ’713 Patent.

        103.     GoPro’s acts of direct and indirect infringement have caused damage to MPV,

 and MPV is entitled to recover damages sustained as a result of GoPro’s wrongful acts in an

 amount subject to proof at trial.

                    COUNT V: INFRINGEMENT OF THE ’485 PATENT

        104.     The allegations of paragraphs 1-103 of this Complaint are incorporated by

 reference as though fully set forth herein.

        105.     MPV owns by assignment the entire right, title, and interest in the ’485 Patent.




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        106.      The ’485 Patent was issued by the United States Patent and Trademark Office on

 July 6, 2004 and is titled “Nonlinearly modifying a rendered digital image.” A true and correct

 copy of the ’485 Patent is attached as Exhibit E.

        107.      Upon information and belief, GoPro has directly infringed at least claim 21 of

 the ’485 Patent by making, using, testing, selling, offering for sale, importing and/or licensing in

 the United States without authority its image processing software products, including without

 limitation the GoPro Studio software (“the ’485 Infringing Instrumentalities”) in an exemplary

 manner as described below.

        108.      One or more of the ’485 Infringing Instrumentalities meet all the limitations of

 claim 21 of the ’485 Patent. In particular, the ’485 Infringing Instrumentalities perform a

 method for processing a rendered image, including allowing a single adjustable exposure setting

 to be changed.




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 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf

          109.   The ’485 Infringing Instrumentalities also select an exposure modification

 transform responsive to changes in the exposure setting the transform accounting for a rendering

 used to produce the rendered image and effecting a change that appears as if a different exposure

 level was used to capture the image.




          https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual

          _Windows.pdf

          110.   The ’485 Infringing Instrumentalities also use the selected exposure modification

 transform to transform the rendered image.




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 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf




 See, e.g., GoPro Studio Tutorial, https://www.youtube.com/watch?v=Zzq0DqX0TlQ, illustrating

 using the selected exposure modification transform to transform the rendered image.




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        111.     GoPro has thus infringed at least claim 21 of the ’485 Patent by making, using,

 testing, selling, offering for sale, importing and/or licensing the ’485 Infringing Instrumentalities,

 and operating such that all steps of at least claim 21 are performed.

        112.     The users, customers, agents and/or other third parties of the ’485 Infringing

 Instrumentalities (collectively, “third-party infringers”) infringed, including under 35 U.S.C. §

 271(a), at least claim 21 of the ’485 Patent by using the ’485 Infringing Instrumentalities.

        113.     GoPro has, since at least no later than October 11, 2017, known or been willfully

 blind to the fact that the third-party infringers’ use of the ’485 Infringing Instrumentalities

 directly infringe the ’485 Patent.

        114.     GoPro’s knowledge of the ’485 Patent, which covers operating the ’485

 Infringing Instrumentalities in their intended manner and such that all limitations of at least claim

 21 of the ’485 Patent are met, made it known to GoPro that the third-party infringers’ use of the

 ’485 Infringing Instrumentalities would directly infringe the ’485 Patent, or, at the very least,

 render GoPro willfully blind to such infringement.

        115.     Having known or been willfully blind to the fact that the third-party infringers’

 use of the ’485 Infringing Instrumentalities in their intended manner and such that all limitations

 of at least claim 21 of the ’485 Patent are met would directly infringe the ’485 Patent, GoPro,

 upon information and belief, actively encouraged the third-party infringers to directly infringe

 the ’485 Patent by making, using, testing, selling, offering for sale, importing and/or licensing

 said ’485 Infringing Instrumentalities, and by, for example, marketing ’485 Infringing

 Instrumentalities to the third-party infringers; supporting and managing the third-party

 infringers’ continued use of the ’485 Infringing Instrumentalities; and providing technical

 assistance to the third-party infringers during their continued use of the ’485 Infringing




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 Instrumentalities. See, e.g., GoPro Studio 2.5 User Manual at pp. 45-85,

 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf.

           116.   GoPro induced the third-party infringers to infringe at least claim 21 of the ’485

 Patent by directing or encouraging them to operate the ’485 Infringing Instrumentalities which,

 alone or in combination with the third-party infringers’ devices, satisfy all limitations of claim 21

 of the ’485 Patent. For example, GoPro advertised and promoted the features of the ’485

 Infringing Instrumentalities and encouraged the third-party infringers to operate the ’485

 Infringing Instrumentalities in an infringing manner. GoPro further provided technical assistance

 as to how the ’485 Infringing Instrumentalities should be used by the third-party infringers (see,

 e.g., GoPro Studio 2.5 User Manual at pp. 45, 85,

 https://gopro.com/content/dam/help/goprostudio/manuals/GoProStudio2.5_User_Manual_Windo

 ws.pdf). In response, the third-party infringers acquired and operated the ’485 Infringing

 Instrumentalities such that all limitations of claim 21 of the ’485 Patent are practiced.

           117.   Thus, GoPro has specifically intended to induce, and has induced, the third-party

 infringers to infringe at least claim 21 of the ’485 Patent, and GoPro has known of or been

 willfully blind to such infringement. GoPro has advised, encouraged, and/or aided the third-

 party infringers to engage in direct infringement, including through its encouragement, advice,

 and assistance to the third-party infringers to use the ’485 Infringing Instrumentalities.

           118.   Based on, among other things, the foregoing facts, GoPro has induced, and

 continue to induce, infringement under 35 U.S.C. § 271(b) of at least claim 21 of the ’485 Patent.

           119.   Further, GoPro sold, provided and/or licensed to the third-party infringers ’485

 Infringing Instrumentalities that are especially made and adapted—and specifically intended by




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 GoPro—to be used as components and material parts of the inventions covered by the ’485

 Patent. For example, GoPro provided hardware and related image processing software which the

 third-party infringers use in a manner such that all limitations of at least claim 21 of the ’485

 Patent are met, and without which the third-party infringers would be unable to use and avail of

 the ’485 Infringing Instrumentalities in their intended manner.

           120.   Upon information and belief, GoPro also knew that the ’485 Infringing

 Instrumentalities operate in a manner that satisfy all limitations of at least claim 21 of the ’485

 Patent.

           121.   The image processing / exposure modification transform technology in the ’485

 Infringing Instrumentalities is specially made and adapted to infringe at least claim 21 of the

 ’485 Patent.     Upon information and belief, the image processing / exposure modification

 transform technology in the ’485 Infringing Instrumentalities is not a staple article or commodity

 of commerce, and, because the functionality is designed to work with the ’485 Infringing

 Instrumentalities solely in a manner that is covered by the ’485 Patent, it does not have a

 substantial non-infringing use.    At least by no later than October 11, 2017, based on the

 foregoing facts, GoPro has known or been willfully blind to the fact that such functionality is

 especially made and adapted for—and is in fact used in—’485 Infringing Instrumentalities in a

 manner that is covered by the ’485 Patent.

           122.   Based on, among other things, the foregoing facts, GoPro has contributorily

 infringed at least claim 21 of the ’485 Patent under 35 U.S.C. § 271(c).

           123.   GoPro’s acts of infringement of the ’485 Patent have been willful and intentional

 under the standard of Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923 (2016). Since at

 least October 11, 2017, GoPro has willfully infringed the ’485 Patent by refusing to take a




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 license and continuing the foregoing infringement. Instead of taking a license to the ’485 Patent,

 GoPro made the business decision to “efficiently infringe” the ’485 Patent. In doing so, GoPro

 willfully infringes the ’485 Patent.

         GoPro’s acts of direct and indirect infringement have caused damage to MPV, and MPV

 is entitled to recover damages sustained as a result of GoPro’s wrongful acts in an amount

 subject to proof at trial.

                                        PRAYER FOR RELIEF

                 WHEREFORE, MPV respectfully requests the following relief:

         A.      A judgment that GoPro has infringed the ’908 Patent;

         B.      A judgment that GoPro has willfully infringed the ’338 Patent;

         C.      A judgment that GoPro has willfully infringed the ’317 Patent;

         D.      A judgment that GoPro has willfully infringed the ’713 Patent;

         E.      A judgment that GoPro has willfully infringed the ’485 Patent;

         F.      A judgment that MPV be awarded damages adequate to compensate it for

 GoPro’s past infringement and any continuing or future infringement of the ’908 Patent, the ’338

 Patent, the ’317 Patent, the ’713 Patent, and the ’485 Patent, including pre-judgment and post-

 judgment interest costs and disbursements as justified under 35 U.S.C. § 284 and an accounting;

         G.      That this be determined to be an exceptional case under 35 U.S.C. § 285 and that

 MPV be awarded enhanced damages up to treble damages for willful infringement as provided

 by 35 U.S.C. § 284;

         H.      That MPV be granted its reasonable attorneys’ fees in this action;

         I.      That this Court award MPV its costs; and




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           J.     That this Court award MPV such other and further relief as the Court deems

 proper.

                                  DEMAND FOR JURY TRIAL

           MPV hereby demands trial by jury on all claims and issues so triable.



  Dated: March 16, 2018                        BAYARD, P.A.

                                               /s/ Stephen B. Brauerman
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